

On Confession of Error

PER CURIAM.
This is an appeal of a final order in a dependency proceeding by Bernard and Mary Bembry, grandparents of the minor child. The order changed the goal of the case plan, placed the minor child with a different grandparent, terminated dependency supervision, and terminated all visitation rights of the appellant grandparents. The Department of Children and Family Services confesses error in that there was no written motion giving proper notice of the proceedings to the appellant grandparents, nor were they afforded an opportunity to be heard in the trial court proceedings. Accordingly, the order under review is reversed and the cause remanded for a new hearing after proper notice.
The appellant grandparents also point out that appointed counsel had withdrawn and that no substitute counsel had been appointed at the time of the hearing below. The question of appointment of counsel for further proceedings should be raised in the trial court on remand.
Reversed and remanded for further proceedings consistent herewith.
